  Case 4:21-cv-00579-P Document 94 Filed 10/26/21            Page 1 of 1 PageID 1460



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

 STATE OF TEXAS,                             §
                                             §
      Plaintiff,                             §
                                             §
 v.                                          §   Civil Action No. 4:21-cv-00579-P
                                             §
 JOSEPH R. BIDEN, JR., in his                §
 official capacity as President of the       §
 United States et al.,                       §
                                             §
      Defendants.                            §

                                         ORDER

        Before the Court is Plaintiff’s Motion for Preliminary Injunction (ECF No. 67),

Defendants’ Motion to Dismiss (ECF No. 76), and the related briefing and appendices.

After reviewing the briefs and applicable law, the Court concludes that an evidentiary

hearing is not necessary and that the Motions may be resolved on the papers.

        Therefore, it is ORDERED that the Court will resolve the Motions on submission

and will not conduct an evidentiary hearing. Should any party object to the Court not

conducting an evidentiary hearing, the party should file a written objection and request for

an evidentiary hearing on or before Monday, November 1, 2021.

        SO ORDERED on this 26th day of October, 2021.
